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                       IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

SECURITIES AND EXCHANGE COMMISSION                           §
Plaintiff,                                                   §
                                                             §
                                                             §
                                                             §
v.                                                           §    Civil Action No. 4:11-cv-655
                                                             §
                                                             §
JAMES G. TEMME, and                                          §
STEWARDSHIP FUND, LP,                                        §
Defendants.                                                  §

     ORDER GRANTING RECEIVER’S FIRST INTERIM APPLICATION TO ALLOW
           AND PAY PROFESSIONAL FEES TO GREG T. MURRAY, PLLC


        Before the court is the Receiver’s Amended First Interim Application to Allow and Pay

Professional Fees to Greg T. Murray, PLLC (the “Application”'RF), which UHTXHVWV

reimbursement for fees incurred for the time period from March 30, 2012 through $XJXVW

2012. The Receiver seeks to pay Greg T. Murray, PLLC total compensation of $35,696.75,

constituting $35,668.75 in fees and $28.00 in expenses incurred.

        No opposition has been filed to this Application. Counsel for the Commission has

reviewed the fee application and been afforded the opportunity to object, but does not object to

the relief sought. Based upon a review of the Application and the pleadings on file, the Court

finds and concludes that (a) the relief requested in the Application is in the best interests of the

Receiver and his receivership estates; (b) proper and adequate notice of the Application has been

given and that no other or further notice is necessary; and (c) good and sufficient cause exists for

the granting of the relief requested in the Application after having given due deliberation upon
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the Application and all of the proceedings had before the Court in connection with the

Application. Therefore, it is hereby ORDERED that:

       i.     The Application is GRANTED.

       ii.    Receiver is authorized to pay Greg T. Murray, PLLC total compensation of

$35,696.75, constituting $35,668.75 in fees and $28.00 in expenses incurred for the time period

from March 30, 2012 through August 30, 2012.

       So ORDERED and SIGNED on October _____,
                                          12 2012.




                                            __________________________________________
                                            Ron Clark
                                            United States District Judge
